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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


ELLIOTT SCHUCHARDT,                       )
                                          )
               Plaintiff,                 )
v.                                        )     Civil Action No. 14-705
                                          )
DONALD J. TRUMP, et al.,                  )     Judge Cathy Bissoon
                                          )
               Defendants.                )
                                          )
                                          )


                                   JUDGMENT ORDER

       FINAL JUDGMENT hereby is entered pursuant to Rule 58 of the Federal Rules of Civil

Procedure. This case has been marked closed.

       IT IS SO ORDERED.



February 4, 2019                                s/Cathy Bissoon
                                                Cathy Bissoon
                                                United States District Judge

cc (via ECF email notification):

All Counsel of Record
